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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page | of 2 (Page 2‘Not for Public Disclosure)
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AURHETA OE
UNITED STATES DISTRICT COURT"!
for the 2019 APR -1 PM12: 08

Southern District of Georgia
Statesboro Division

 

 

United States of America

v. )
) Case No: 6:03CR00018-2
Jermaine Ali Wilson )
) USMNo: 11566-021
Date of Original Judgment: January 22, 2004 )
Date of Previous Amended Judgment: 7 ) Hugh McNatt —_
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [x] the defendant [] the Director of the Bureau of Prisons (J the court under 18 U.S.C.

§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
DENIED. []GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) Of —~————s months is reduced to

(Complete Parts I and II of Page 2 when motion is granted)

Except as otherwise provided, all provisions of the judgment dated January 22,2004 shall remain in effect.
IT IS SO ORDERED.

Order Date: <4} / 20(7

 
   

Effective Date: al’ Chief Judge
United States District Court
Southern District of Georgia __

(if different from order date) Printed name and title
